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                         EXHIBIT G
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF LOUISIANA
                                   SHREVEPORT DIVISION




   DOES 1–7,

                                Plaintiffs,         Civil Docket No. 5:18-cv-152

                                                    CHIEF JUDGE HICKS
                     v.
                                                    MAGISTRATE JUDGE HORNSBY

   BOSSIER PARISH SCHOOL BOARD and
   SCOTT SMITH in his official capacity
   as Bossier Parish Superintendent,


                              Defendants.



                DECLARATION OF PLAINTIFF DOE 7 IN SUPPORT OF
         PLAINTIFFS’ UNOPPOSED MOTION TO PROCEED USING PSEUDONYMS

     I, Plaintiff Doe 7, declare that, if called upon, I would testify to the following:

        1.     I am a plaintiff in this case.

        2.     I am the parent of one or more children who attend school in the Bossier

  Parish School System.

        3.     I have not disclosed my participation in this suit to any persons other

  than my spouse and a close friend. To my knowledge, no one else, other than my

  attorneys, is aware that I am a plaintiff in this case.

        4.     I elected to bring this suit on the understanding that my identity would

  not be disclosed. I wish to remain anonymous and to proceed using a pseudonym.




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        5.     Maintaining anonymity is important to me because I fear for the

  privacy, well-being, and safety of my family, and most especially of my underage child

  or children, should my identity—and by extension theirs—become known.

        6.     I do not wish to make public my private religious beliefs, nor do I wish

  to reveal the private religious beliefs of my family members. I want my child[ren] to

  make their own decisions about religion—without social pressure or threats—but I

  do not think they are old enough to make those decisions yet.

        7.     Should my identity become known, I fear that my underage child or

  children will suffer harassment, bullying, and verbal abuse by other students at

  school that will interfere with their comfort, safety, and ability to learn.

        8.     I base these fears on previous instances in which my child or children

  have been maliciously teased and bullied by other students during class for refusing

  to participate in school activities with religious elements.

        9.     It’s already hard enough for my child[ren] to make friends—I do not

  want my participation in this lawsuit to make things worse. If my participation in

  this lawsuit were made public, I fear that the social ostracism my child[ren] already

  experience in school will carry over into activities outside of school. I fear that parents

  will tell their children not to socialize with mine and that children in my

  neighborhood will come to my house to bully my child[ren] or vandalize my property.

        10.    I believe that some in Bossier Parish will see this lawsuit as an attack

  on their Christianity or on themselves, and I fear that these individuals will attack

  me or my family to “defend” their beliefs.



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        11.   I declare under penalty of perjury that the foregoing is true and correct.

  Executed on March 1, 2018.

                                         s/ Plaintiff Doe 7




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